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                UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA




    ROSALINA DRAYTON,                   CV 22-1409-DSF-JPR
          Plaintiff,
                                        Order to Show Cause re
                    v.                  Dismissal for Lack of
                                        Prosecution
    INSTANT BRANDS, INC.,
          Defendant.




       The Federal Rules of Civil Procedure require a plaintiff to serve
   process on the defendants within 90 days of the filing of the
   complaint. Fed. R. Civ. P. 4(m). The Court may extend this
   deadline for good cause. Id. More than 90 days have passed since
   the complaint in this case was filed, and Plaintiff has not filed a
   proof of service for the defendant. Therefore, Plaintiff is ordered
   to show cause no later than July 21, 2022 why the unserved
   defendant should not be dismissed for failure to prosecute. The
   filing of proof of service showing that the defendant was served
   within the 90-day period or a showing of good cause for extending
   the service period constitute adequate responses to this order.
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